
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date January 5, 1968.
We find that oral argument would serve no useful purpose and it is therefore dis*611pensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The petition for attorney’s fee filed by attorney for Respondent Neugin is granted in the amount of $250.00.
CALDWELL, C. J., and ROBERTS, DREW, ERVIN and ADAMS, JJ., concur.
